     Case 2:15-cv-01116-DMG-JPR Document 31 Filed 09/17/15 Page 1 of 3 Page ID #:137




 1    MANDOUR & ASSOCIATES, APC
      JOSEPH A. MANDOUR, III (SBN 188896)
 2    Email: jmandour@mandourlaw.com
      BEN T. LILA (SBN 246808)
 3    Email: blila@mandourlaw.com
      2030 Main Street, Suite 1300
 4    Irvine, CA 92614
 5
      Telephone: (949) 474-9330
      Facsimile: (949) 474-9390
 6    Attorneys for Defendants,
      CLAY’S CLASSICS and
 7    RON HATFIELD
 8
                              UNITED STATES DISTRICT COURT
 9
                             CENTRAL DISTRICT OF CALIFORNIA
10
                                    EASTERN DIVISION
11
12                                        )
13
           KAKEDAN, INC., a Delaware      )   Civil Case No. 15 CV 1116 DMG (JPRx)
           Corporation,
                                          )
14
                Plaintiff,                )   DEFENDANTS CLAY’S CLASSICS
15                                        )   AND RONALD HATFIELD’S
                v.
                                          )   NOTICE OF BANKRUPTCY
16
           CLAY’S CLASSICS, a business    )
17         entity of unknown status,      )
           RONALD HATFIELD, an
18         Individual; and DOES 1-        )
           10, Inclusive,                 )
19                                        )
                Defendants.
20                                        )
                                          )
21
                                          )
22                                        )
23    \\
24    \\
25    \\
26    \\
27    \\
28    \\

                                                           Case No. 15 CV 1116 DMG (JPRx)
                                                                NOTICE OF BANKRUPTCY
Case 2:15-cv-01116-DMG-JPR Document 31 Filed 09/17/15 Page 2 of 3 Page ID #:138
     Case 2:15-cv-01116-DMG-JPR Document 31 Filed 09/17/15 Page 3 of 3 Page ID #:139




 1                              CERTIFICATE OF SERVICE
 2          I hereby certify that on September 17, 2015, I electronically filed the
 3    foregoing DEFENDANTS CLAY’S CLASSICS AND RONALD HATFIELD’S
 4    NOTICE OF BANKRUPTCY with the Clerk of the Court using the CM/ECF
 5    system, which will send notification of such filing to all counsel of record.
 6
 7
                                             By:     /s/ Ben T. Lila
 8
                                                   Ben T. Lila
 9                                                 Email: blila@mandourlaw.com
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                                Case No. 15 CV 1116 DMG (JPRx)
                                                                     NOTICE OF BANKRUPTCY
